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 7                                 UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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10                                                       No. 2:18-mj-152-EFB
      IN THE MATTER OF THE
11    EXTRADITION OF OMAR
      ABDULSATAR AMEEN TO THE
12    REPUBLIC OF IRAQ                                   ORDER
13

14          The extradition hearing in this case occurred on December 4, 2019. ECF No. 247. The

15   court deferred issuing its decision on certification, however, in order to allow the defense to

16   submit a brief addressing the content of the second supplement to the extradition request (ECF

17   No. 240-1). On January 24, 2020, the defense filed a status report resurrecting an issue that both

18   it (and the court) had previously considered a dead end. ECF No. 255.

19          The court issued a Letter Rogatory for Ameen’s Turkcell phone records on February 5,

20   2019. ECF No. 47. The Letter Rogatory sought:

21                  [C]ell phone records for the period of time of May 2014 through
                    August 2014 for [Ameen’s cell number], SIM card, and handset.
22                  This Court requests that records be obtained that include usage
                    records for this period of time for calls, texting, and data, and for any
23                  location data, including cell-site location data.
24   Id. at 2. The defense status report indicates that the letter was translated, notarized, and provided

25   to the Turkish Ministry of Justice on February 21, 2019. ECF No. 255 at 2. The defense never

26   received a response and, at the December 4, 2019 hearing, Ameen’s counsel conceded “[W]e’ve

27   tried to get Mr. Ameen’s [phone] records, as the Court knows. We’ve been unable to get the

28   [Turkcell] records. I think I just have to give up on the Turkish government on this one.” ECF
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 1   No. 253 at 43. On January 23, 2020, the defense received a letter from a Turkish official, routed
 2   through the Department of State, indicating that the Turkish government was amenable to
 3   providing the Turkcell records. ECF No. 255 at 4; 255-1 at 1 (Translation at 255-2). The Turkish
 4   letter was dated to mid-May 2019 and indicated that the request should be channeled through the
 5   United States Department of Justice. ECF No. 255-2.
 6          The government has offered, in a response to the status report, an explanation of why the
 7   Turkish letter was not timely conveyed to the defense. Suffice it to say, the letter traveled from
 8   Office of International Affairs to the Department of State where, according to the government, it
 9   was “misfiled” and never transmitted to defense counsel (until January 23, 2020). ECF No. 256
10   at 2-3. Confoundingly, the government now argues that the court should proceed to decide
11   certification without waiting to see if the Turkcell data can be obtained because the data, no
12   matter what it might show, could not obliterate probable cause. Id. at 5. The court cannot, in
13   good conscience, adopt the approach the government suggests. The court thought the Turkcell
14   records worthy of investigation when it issued the Letter Rogatory in February 2019. It has not
15   been given cause to re-think that assessment in the intervening months. Moreover, the delay in
16   this instance is attributable to the government’s own bureaucratic mishandling of the Turkish
17   letter. The court declines to penalize the defense for the same.
18          The defense has requested that the court set a status report date of April 29, 2020 by
19   which time the defense will update the court on its renewed attempts to obtain the records. That
20   request is GRANTED. The government indicated in its response that “[i]n light of the delayed
21   transmission of Turkey’s response to defense counsel, the Department of State’s Office of
22   American Citizen Services is willing to expeditiously transmit the defense letter rogatory to
23   Turkey through the proper diplomatic channel.” Id. at 4. Thus, the court directs the government
24   to provide the defense with any assistance it might require in ensuring that the Letter Rogatory is
25   directed to Turkish officials through proper channels.
26   DATED: January 28, 2020.
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